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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA



United States of America,
                                                     Criminal No. 21-238 (2) (ADM/TNL)
                       Plaintiff,

v.
                                                         ARRAIGNMENT ORDER
Jeremiah Deshawn Johnson (2),

                       Defendant.



        A hearing was held before United States Magistrate Judge Cowan Wright on

February 22, 2022. Defendant was present in court with his attorney, A. L. Brown, Esq.

The government was represented by Michelle Jones, Assistant United States Attorney.

        Defendant identified himself by name and birth date; waived the reading of the

indictment; and entered a plea of not guilty.

        Pursuant to Local Rule 12.1 (copy attached), IT IS HEREBY ORDERED

that:

        1.       The government must make all disclosures required by Federal Rule of

Criminal Procedure 16(a) by March 1, 2022. D. Minn. LR 12.1(a)(1). In order to avoid

the need for a recess of the motions hearing, the government is requested to make, by

March 1, 2022, all disclosures which will be required by Fed. R. Crim. P. 26.2 and 12(h).

        2.       Pursuant to the Due Process Protections Act, the Court confirms the United

States’ obligation to disclose to the defendant all exculpatory evidence- that is, evidence
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that favors the defendant or casts doubt on the United States’ case, as required by Brady

v. Maryland, 373 U.S. 83 (1963) and its progeny, and orders the United States to do so.

Failure to do so in a timely manner may result in consequences, including, but not limited

to, exclusion of evidence, adverse jury instructions, dismissal of charges, contempt

proceedings, disciplinary action, or sanctions by the Court.

        3.       Defendant must make all disclosures required by Federal Rule of Criminal

Procedure 16(b) by March 8, 2022. D. Minn. LR 12.1(a)(2).

        4.       All motions in the above-entitled case must be filed and served consistent

with Federal Rules of Criminal Procedure 12(b) and 47 on or before March 15, 2022. 1

D. Minn. LR 12.1(c)(1). Two courtesy copies of all motions and responses must be

delivered directly to the chambers of Magistrate Judge Leung. 2

        5.       Counsel must electronically file a letter on or before March 15, 2022 if

no motions will be filed and there is no need for hearing.

        6.       All responses to motions must be filed by March 29, 2022. D. Minn. LR

12.1(c)(2).

        7.       Any Notice of Intent to Call Witnesses must be filed by March 29, 2022.

D. Minn. LR. 12.1(c)(3)(A).

        8.       Any Responsive Notice of Intent to Call Witnesses must be filed by April

1, 2022. D. Minn. LR 12.1(c)(3)(B).


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        “Before filing a motion under Fed. R. Crim. P. 12(b), the moving party must confer with the responding
party. The parties must attempt in good faith to clarify and narrow the issues in dispute.” D. Minn. LR 12.1(b).
2
        U.S. Mail or hand-deliver to 300 South Fourth Street, Suite 9W, Minneapolis, MN 55415.

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      9.       A motions hearing will be held pursuant to Federal Rules of Criminal

Procedure 12(c) where:

               a.     The government makes timely disclosures and Defendant identifies
                      in the motions particularized matters for which an evidentiary
                      hearing is necessary; or

               b.     Oral argument is requested by either party in its motion, objection or
                      response pleadings.

      10.      If required, the motions hearing must be heard before Magistrate Judge

Tony N. Leung on April 5, 2022, at 1:30 p.m., in Courtroom 9W, U.S. Courthouse, 300

South Fourth Street, MINNEAPOLIS, Minnesota. D. Minn. LR 12.1(d).

      11.      TRIAL:

               a.     IF NO PRETRIAL MOTIONS ARE FILED BY DEFENDANT:

the following trial and trial-related dates are:

               All voir dire questions and jury instructions must be submitted to District

Judge Ann D. Montgomery on or before April 18, 2022.

               This case must commence trial on April 25, 2022, at 9:30 a.m. before

District Judge Ann D. Montgomery in Courtroom to be determined, U.S. Courthouse,

300 South Fourth Street, MINNEAPOLIS, Minnesota.

               b.     IF PRETRIAL MOTIONS ARE FILED, the trial date, and

other related dates, will be rescheduled following the ruling on pretrial motions.

Counsel must contact the Courtroom Deputy for District Judge Montgomery to

confirm the new trial date.



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Dated: February 23, 2022           s/Tony N. Leung
                                   TONY N. LEUNG
                                   United States Magistrate Judge




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